        Case 2:19-cv-00005-TOR      ECF No. 1   filed 01/07/19   PageID.1 Page 1 of 35




 1    MATTHEW Z. CROTTY                         THOMAS G. JARRARD
      (WSBA #39284)                             (WSBA #39774)
 2    Crotty & Son Law Firm, PLLC               Law Office of Thomas
      905 W. Riverside Ave, Suite 404           Jarrard, PLLC
 3    Spokane, WA 99201                         1020 N. Washington Dt.
      Telephone: (509) 850-7011                 Spokane, WA 99201
      Email: matt@crottyandson.com              Telephone: (425) 239-7290
 4
                                                Facsimile: (509) 326-2932
                                                Email: tjarrard@att.net
 5
      PETER ROMER-FRIEDMAN                      R. JOSEPH BARTON
 6    (pro hac vice motion forthcoming)         (pro hac vice motion forthcoming)
      Outten & Golden LLP                       Block & Leviton LLP
 7    601 Massachusetts Avenue NW               1735 20th Street NW
      Second Floor West Suite                   Washington, DC 20009
 8    Washington, D.C. 20001                    Telephone: (202) 734-7046
      Telephone:(202) 847-4400                  Fax: (617) 507-6020
 9    Facsimile: (202) 847-4410                 Email: jbarton@blockesq.com
      Email: prf@outtengolden.com
10
     Attorneys for Plaintiff
11                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WASHINGTON
12

13    CASEY CLARKSON,                               CASE NO. _____
                                                             2:19-CV-5


14                    Plaintiff,                    CLASS ACTIONCOMPLAINT
                                                    FOR VIOLATIONS OF
15          v.                                      USERRA AND DEMAND FOR
                                                    TRIAL BY JURY
16    ALASKA AIRLINES, INC., HORIZON
      AIR INDUSTRIES, INC., and ALASKA              EXEMPT FROM FILINGFEES
17    AIRLINES PENSION/BENEFITS                     UNDER 38 U.S.C. § 4323(h)(1)
      ADMINISTRATIVE COMMITTEE,
18
                      Defendants.
19

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 1
        Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.2 Page 2 of 35




 1         Plaintiff Casey Clarkson, on behalf of himself and other similarly situated

 2   individuals, by and through his attorneys, alleges as follows:

 3                                   INTRODUCTION

 4         1.     This is a class action under the Uniformed Services Employment and

 5   Reemployment Rights Act (“USERRA”), 38 U.S.C. § 4301 et seq., on behalf of

 6   current and former employees of Alaska Airlines, Inc. (“Alaska”) and Horizon Air

 7   Industries, Inc. (“Horizon”), who took military leave from their employers and who

 8   were (1) subjected to Horizon’s uniform “virtual credit” policy during periods of

 9   their military leave and were demoted or otherwise harmed as a result of that policy,

10   or (2) did not receive their regular wages or salary during their periods of short-term

11   military leave (as they would have been paid for other comparable forms of non-

12   military leave).

13         2.     USERRA requires that servicemembers who take leaves of absence

14   from their civilian employers to perform qualified military service receive the same

15   rights and benefits as other employees who take comparable forms of non-military

16   leave, 38 U.S.C. § 4316(b), and gives servicemembers the right to be reemployed

17   at the same position with the same rights and benefits had they not taken military

18   leave, including by treating military service as continued employment. 38 U.S.C.

19   §§ 4312(a), 4313(a)(1), 4316(a). Alaska and Horizon violated these provisions of

20   USERRA.

21


                CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 2
        Case 2:19-cv-00005-TOR      ECF No. 1     filed 01/07/19   PageID.3 Page 3 of 35




 1         3.     First, when determining the position a pilot returns to following a

 2   period of military leave, Horizon has not given its pilots full credit for the flight

 3   hours that the pilots would have flown during periods of military leave, causing

 4   pilots to be demoted from the position of Regular Line Holder in the month

 5   following a period of military leave or requiring the pilots to work additional hours

 6   to avoid such a demotion.

 7         4.     In order to maintain their status as a Regular Line holder—a position

 8   that offers greater compensation and employment benefits than other pilots—pilots

 9   must work at least 70 hours per month. When Clarkson and other Horizon pilots

10   have taken military leave, Horizon has given them “virtual credit” for hours worked

11   during their qualifying leave periods. However, Horizon has only offered 2.45

12   hours of credit per day to pilots on military leave, even though Horizon pilots

13   ordinarily work many more hours on a normal working day than 2.45 hours. As a

14   result, pilots who take military leave do not receive the full credit for the hours that

15   they would have worked during the relevant period of military leave, making it

16   harder for pilots to reach the 70 hours of credit per month that they need to maintain

17   their Regular Line holder status. Thus, many pilots who receive inadequate credit

18   during their military leave lose their Regular Line holder status, including the

19   compensation and benefits associated with that status, or must work additional

20   hours to avoid losing that status.

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 3
        Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.4 Page 4 of 35




 1         5.     Second, both Alaska and Horizon, sister airlines that are wholly-owned

 2   subsidiaries of Alaska Air Group, have failed to provide the regular wages or

 3   salaries to employees when they take short-term military leave, although both

 4   companies provide regular wages or salaries pay to employees who take other

 5   comparable forms of non-leave.

 6         6.     As a result of these violations, Plaintiff and other servicemembers

 7   employed by Horizon and Alaska received less wages, salaries, and compensation

 8   than they would have received had Horizon (1) provided them with a virtual

 9   crediting system that fully reflected the number of hours pilots would have worked

10   during a normal working day during periods of military leave, and (2) had both

11   Defendants paid employees their regular wages or salaries during short-term

12   periods of military leave.

13         7.     This action seeks a declaration that Horizon and Alaska violated

14   USERRA by applying a “virtual credit” policy to servicemember-pilots that does

15   not fully reflect a normal working day for the purpose of determining pilots’

16   reemployment position and rights and benefits, and by failing to pay employees

17   their regular wages or salaries during short-term periods of military leave consistent

18   with the requirements of USERRA.

19         8.     On behalf of the servicemember-employees of Horizon, Plaintiff seeks

20   an order requiring Horizon to provide full credit for a normal working day for all

21


                CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 4
        Case 2:19-cv-00005-TOR      ECF No. 1   filed 01/07/19   PageID.5 Page 5 of 35




 1   servicemembers who take qualified military leave protected by USERRA and to

 2   restore the compensation and benefits to servicemembers who were demoted or

 3   otherwise harmed as a result of the “virtual credit” policy.

 4         9.     On behalf of servicemember-employees of Horizon and Alaska who

 5   were denied pay during their short-term leave, Plaintiff seeks an order requiring

 6   both Defendants to provide regular wages or salaries to employees when they take

 7   short-term military leave, and an order requiring Defendants to recalculate and pay

 8   the compensation of Plaintiff and members of the Class for periods of short-term

 9   military leave consistent with the requirements of USERRA.

10                            JURISDICTION AND VENUE

11         10.    This Court has subject matter jurisdiction with respect to the USERRA

12   claims pursuant to 38 U.S.C. § 4323(b)(3), which provides that the district courts of

13   the United States have jurisdiction over a USERRA action brought against a private

14   employer. This Court has subject matter jurisdiction over Plaintiff’s individual

15   ERISA claim pursuant to 28 U.S.C. § 1331, because his claim arises under the laws

16   of the United States, and pursuant to 29 U.S.C. § 1132(e)(1), which provides for

17   federal jurisdiction of actions brought under Title I of ERISA. This Court also has

18   subject matter jurisdiction over this action under 28 U.S.C. § 1331, because this

19   action arises under the laws of the United States.

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 5
        Case 2:19-cv-00005-TOR       ECF No. 1    filed 01/07/19   PageID.6 Page 6 of 35




 1         11.    This Court has specific personal jurisdiction over Defendants, as the

 2   employment practices challenged in this action were directed at Plaintiff and other

 3   employees who work and/or reside in this District and because Defendants transact

 4   business in and have significant contacts with this District.

 5         12.    Venue is proper under 38 U.S.C. § 4323(c)(2), because Defendants

 6   Alaska and Horizon are both Washington corporations that are licensed to conduct

 7   business in the State of Washington and conduct business in the Eastern District of

 8   Washington. Venue is proper in this District for Plaintiff’s individual ERISA claim

 9   pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2), because the breaches and

10   violations giving rise to the claim occurred in this District. Venue is also proper in

11   this District under 28 U.S.C. § 1391(b)(2), because a substantial part of the events

12   giving rise to the claims in this action occurred in this District.

13                                         PARTIES

14         13.    Plaintiff Casey Clarkson was a member of the Washington Air National

15   Guard from at least the beginning of his employment with Alaska and Horizon until

16   June 30, 2018. Clarkson worked for Defendant Horizon Air Industries, Inc. as a

17   turboprop passenger aircraft pilot beginning in November 2013 until he was hired

18   by Defendant Alaska Airlines, Inc., to pilot 737 passenger jets on November 6, 2017.

19   He is currently employed by Alaska. Plaintiff Clarkson has resided in Spokane,

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 6
        Case 2:19-cv-00005-TOR     ECF No. 1    filed 01/07/19   PageID.7 Page 7 of 35




 1   Washington at all times during his employment with both Defendants and was based

 2   out of the Spokane Airport at all times during his employment with both Defendants.

 3         14.    Defendant Alaska Airlines, Inc. (“Alaska”) is an Alaska corporation

 4   that is licensed to conduct business in the State of Washington and conducts

 5   business in the Eastern District of Washington. Alaska’s Registered Agent’s

 6   Address is 19300 International Blvd. Seattle, WA 98188.

 7         15.    Defendant Horizon Air Industries, Inc. (“Horizon”) is a Washington

 8   corporation that is licensed to conduct business in the State of Washington and

 9   conducts business in the Eastern District of Washington. Horizon’s Registered

10   Agent’s address is 19300 International Blvd. Seattle, WA 98188.

11         16.    Defendant Alaska Airlines Pension/Benefit Administrative Committee

12   is the Plan Administrator within the meaning of ERISA § 3(16), 29 U.S.C. §

13   1002(16), of the Alaska Airlines, Inc. Pilots Investment and Savings Plan, which is

14   a defined-contribution plan within the meaning of ERISA § 3(34) that is offered to

15   employees of Alaska Airlines. Plaintiff Clarkson is and has been a participant in

16   the Plan at least since October 2018.

17                          CLASS ACTION ALLEGATIONS

18         17.    Plaintiff brings this action as a class action pursuant to Rule 23 of the

19   Federal Rules of Civil Procedure on behalf of the following classes of persons:

20          The Virtual Credit Class: all current and former employees of

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 7
        Case 2:19-cv-00005-TOR      ECF No. 1   filed 01/07/19   PageID.8 Page 8 of 35




 1                Horizon or any subsidiary, joint venture, or division of Horizon
                  who were subjected to Horizon’s “virtual credit” policy with
 2                respect to a period of military leave, from May 1, 2017 through
                  the date of the judgment in this action.
 3         (1)    The Paid Leave Class: all current or former Alaska or Horizon
                  employees who have taken short-term military leave from
 4                October 10, 2004 through the date of the judgment in this action.

 5         18.    Excluded from the Classes are the following persons: (a) all former or

 6   current individuals who previously reached settlements with or judgments against

 7   Defendants resolving or releasing any claims arising during the Class Period under

 8   USERRA related to any of the claims in this lawsuit; and (b) any person who served

 9   as a fiduciary of the Plan and their beneficiaries under the Plans and any member

10   of the immediate family of and any heirs, successors or assigns of any such person.

11   Impracticability of Joinder

12         19.    The Classes are so numerous that joinder of all members is

13   impracticable. Upon information and belief, Horizon employs at least 700 pilots, a

14   significant portion of which are reservists, and Horizon also actively recruits

15   servicemembers to become pilots with Horizon. Upon information and belief, there

16   are hundreds of pilots who are eligible for membership in the Virtual Credit Class

17   and the Paid Leave Class, because they have been subjected to (or will continue to

18   be subjected to) Horizon’s virtual credit policy and/or have taken short-term

19   military leave from Horizon.

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 8
        Case 2:19-cv-00005-TOR     ECF No. 1    filed 01/07/19   PageID.9 Page 9 of 35




 1         20.     Upon information and belief, Alaska employs more than 21,000

 2   employees, a significant portion of which are reservists, and Alaska also actively

 3   recruits servicemembers to become pilots with Alaska. Thus, upon information and

 4   belief there are likely to be hundreds to thousands of Alaska employees who are

 5   eligible for membership in the Paid Leave Class.

 6         21.     Joinder is also impracticable because the members of both Classes are

 7   geographically dispersed. Alaska maintains hubs in geographically dispersed

 8   airports: Anchorage, Alaska; Los Angeles, California; Portland, Oregon; San

 9   Francisco, California; and Seattle/Tacoma, Washington. Horizon also maintains

10   hubs in both Portland, Oregon, and in Seattle/Tacoma, Washington.              Class

11   Members reside close to each of these hubs, and therefore are geographically

12   dispersed.

13   Commonality

14         22.     The central questions in this case concern whether the Horizon and

15   Alaska employees’ federal statutory rights under USERRA were violated by

16   Horizon and Alaska, namely with respect to Horizon’s “virtual credit” policy and

17   both employers’ failure to pay their employees their regular wages or salaries during

18   periods of short-term military leave.

19         23.     As Horizon adopted and applied a uniform “virtual credit” policy or

20   practice for determining a pilot’s Regular Line holder and Reserve Line holder

21


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 9
      Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.10 Page 10 of 35




 1   position, the answer to the question of whether the virtual credit policy violated

 2   USERRA will produce common answers for all members of the proposed Virtual

 3   Credit Class.

 4         24.     As Horizon and Alaska applied uniform policies of failing to pay

 5   employees when they took short-term military leave while paying employees who

 6   took comparable forms of non-military leave, the answer to the question of whether

 7   these policies violated USERRA will produce common answers for all members of

 8   the proposed Paid Leave Class.

 9         25.     Plaintiff’s claims raise subsidiary common questions that will also

10   have common answers for each Class Member, including, but not limited to, the

11   following:

12                 a.   Whether Horizon’s “virtual credit” policy provides

13                      employees who take military leave the same credit

14                      of hours that employees would have earned had they

15                      continued their employment with Horizon during the

16                      period of military leave?

17                 b.    Whether Horizon’s use of the “virtual credit” policy

18                       violates USERRA §§ 4312, 4313 and 4316 by

19                       denying reemployment in the proper position and

20

21


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 10
      Case 2:19-cv-00005-TOR        ECF No. 1   filed 01/07/19   PageID.11 Page 11 of 35




 1                      failing to treat military service as continued

 2                      employment?

 3                c.    Whether short-term military leave is comparable to

 4                      other types of non-military leave for which

 5                      employees of Horizon and Alaska receive their

 6                      normal wages and salaries?

 7                d.    Whether Horizon and Alaska’s failure to pay

 8                      employees when they take short-term military leave

 9                      violates USERRA § 4316?

10                e.    Whether Defendants’ violations of USERRA were

11                      willful, making it appropriate to award liquidated

12                      damages under USERRA?

13                f.    What is the appropriate relief that should be

14                      granted?

15          26. As Defendants acted in a systematic manner with respect to the Class

16   Members, and all members of the Classes suffered the same type of injuries based

17   on discrete policies, resolving the claims of the Classes will be based on common

18   legal and factual questions.

19   Typicality

20

21


                CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 11
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.12 Page 12 of 35




 1          27.     Plaintiff’s claims are typical of the other members of the proposed

 2   Classes. Plaintiff challenges policies that were uniformly applied to employees who

 3   took military leave and who were harmed in a similar fashion.

 4          28. The relief sought consists primarily of: (1) a declaration establishing

 5   that Defendants violated USERRA; (2) an order requiring them to comply with

 6   USERRA in the future; (3) an order requiring Defendants to recalculate the

 7   compensation owed to members of the Classes due to the “virtual credit” policy and

 8   the failure to pay wages and salaries during periods of short-term military leave;

 9   and (4) an order that the unpaid compensation be allocated and paid to the Class

10   Members.

11   Adequacy

12          29. Plaintiff will fairly and adequately protect the interests of other

13   members of the Virtual Credit Class and the Paid Leave Class. Plaintiff is aware of

14   no conflict with any other member of either Class. Plaintiff understands his

15   obligations as a class representative, has already undertaken steps to fulfill them,

16   and is prepared to continue to fulfill his duties as class representative.

17          30. Defendants have no unique defenses against the Plaintiff that would

18   interfere with Plaintiff’s representation of the Classes.

19

20

21


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 12
       Case 2:19-cv-00005-TOR       ECF No. 1    filed 01/07/19   PageID.13 Page 13 of 35




 1          31. Plaintiff’s counsel are experienced in federal court class action

 2   litigation and have substantial experience in litigating class action employment

 3   cases, including under USERRA.

 4   Rule 23(b)(3)

 5          32. This action is properly maintainable as a class action under Rule

 6   23(b)(3) of the Federal Rules of Civil Procedure.

 7          33. The questions of law and fact common to the members of the Classes

 8   predominate over questions affecting only individual members and a class action is

 9   superior to other available methods for the fair and efficient resolution of this

10   controversy.

11          34. A class action is superior to other available methods for the fair and

12   efficient adjudication of these issues. By resolving the common issues described

13   above in a single class proceeding, the issues will be efficiently resolved in a single

14   proceeding rather than multiple proceedings and obviate the possibility for

15   unnecessary duplicative litigation.

16          35.       The following factors set forth in Rule 23(b)(3) also support

17   certification:

18                    a.   The members of the Classes have an interest in a unitary

19                         adjudication of the issues in this action for the same reasons why

20                         this case should be certified under Rule 23(b)(1). Additionally,

21


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 13
      Case 2:19-cv-00005-TOR      ECF No. 1     filed 01/07/19   PageID.14 Page 14 of 35




 1                      many members of the Classes are unlikely to have sufficient

 2                      damages to justify pursuing an individual action or obtain

 3                      counsel to pursue an individual action. But all Class Members

 4                      would benefit from a class action that obtains relief for all

 5                      members of the Class.

 6                b.    No other litigation has raised the same allegations with respect

 7                      to Horizon’s virtual credit policy or Horizon and Alaska’s

 8                      failure to pay their employees during periods of short-term

 9                      military leave, or sought the same relief.

10                c.    This is an appropriate forum for these claims because, among

11                      other reasons, jurisdiction and venue are proper, Plaintiff was

12                      employed in this District, both Defendants have operations in

13                      this District, and a substantial number of the Class Members

14                      likely resides in this District.

15                d.    There are no difficulties in managing this case as a class action.

16                             FACTUAL ALLEGATIONS

17   Defendant Horizon’s Policies Regarding Military Leave

18         36.    Defendant Horizon has applied several uniform policies to employees

19   who take leave from their employment to perform military service.

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 14
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.15 Page 15 of 35




 1         37.    First, Horizon does not pay servicemember-employees their regular

 2   wages or salaries during periods of short-term leave (such as military leave for a

 3   two- to three-day military drill or leave for a 14-day annual military training period).

 4   However, Horizon does pay the regular wages or salaries of its employees when

 5   they take other comparable forms of non-military leave, such as jury duty leave and

 6   bereavement leave.

 7         38.    Second, since at least May of 2017, Horizon has applied a “virtual

 8   credit” policy to employees—primarily pilots—who take military leave. Horizon’s

 9   “virtual credit” policy allocates 2.45 hours per day for paid and unpaid leaves,

10   including military leave. However, Horizon pilots ordinarily work significantly

11   more than 2.45 hours on days in which they are scheduled to fly and do work.

12   Accordingly, the 2.45 hours per day that Horizon credits for all days in which pilots

13   take military leave does not credit pilots for the actual flight hours that they missed

14   due to military leave.

15         39.    Horizon’s “virtual credit” policy reduces the compensation and

16   employment benefits that many servicemember-pilots receive. Horizon divides its

17   turboprop pilots into those who fly Regular Lines (flown by Regular Line holders),

18   Reduced Credit Lines (flown by Reduced Line holders), or Reserve Lines (flown

19   by Reserve Line holders). Regular Line holders make more money and have a more

20   predictable schedule than Reserve or Reduced Line holders. Regular Line holders

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 15
      Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.16 Page 16 of 35




 1   receive a 70 hour per month minimum guarantee, which means that a Regular Line

 2   holder is guaranteed at least 70 hours of pay per month. If a pilot works (or is

 3   credited) less than 70 hours per month, then the pilot loses his Regular Line holder

 4   status and becomes a Reserve Line holder.

 5         40.    Because Horizon’s “virtual credit” policy does not actually credit

 6   employees who take unpaid military leave for the full amount of hours they would

 7   have worked had they not taken leave, the effect of the policy is that an employee

 8   who takes short-term military leave often must either perform additional work to

 9   make up for the lost hours from the 2.45 hour leave policy in order to keep his

10   Regular Line holder status or lose that Regular Line Holder status altogether.

11   Defendant Alaska Airlines’ Policies Regarding Military Leave

12         41.    Defendant Alaska Airlines adheres to a uniform policy by which it

13   pays the regular wages or salary to employees who are called to jury duty. Alaska

14   also has a policy to provide employees their regular wages or salary when they take

15   sick leave. Both jury duty and sick leave are comparable to short-term military

16   leave, as they are short in duration and involuntary on the part of the person taking

17   the leave. Alaska also provides its employees their regular wages or salary during

18   absences due to emergencies. Emergency leave is similar to short-term military

19   leave insofar as it is regarded as involuntary on the part of the person taking the

20   leave and is difficult to anticipate far in advance. Upon information and belief, each

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 16
      Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.17 Page 17 of 35




 1   of these types of leave—short-term military leave, jury duty leave, bereavement

 2   leave, and emergency leave commonly lasts for only several days and usually not

 3   more than a couple of weeks.

 4   Horizon’s “Virtual Credit” Policy Causes Plaintiff Clarkson to Lose His
     Regular Line Holder Status
 5

 6         42.    Casey Clarkson started working for Defendant Horizon as a pilot of

 7   turboprop passenger aircraft on November 23, 2013. Throughout the time Clarkson

 8   worked for Horizon, he also served in the Washington Air National Guard.

 9         43.    Clarkson first went on military leave to perform National Guard

10   service from June 8 until July 8, 2017. Defendant Horizon applied its “virtual credit

11   policy” to Clarkson during the period of his June to July 2017 leave. Specifically,

12   Clarkson’s service with the National Guard required him to take military leave

13   during his employment with Horizon. Clarkson was on military leave for 22 days

14   in June 2017.     Under Horizon’s “virtual credit” policy, Horizon multiplied

15   Clarkson’s 22 days of military leave by 2.45 hours per day, which, in turn, credited

16   Clarkson with 53.9 hours for June 2017. When these 53.9 hours of virtual credit

17   were added to the hours he worked in June 2017, the total amount of hours was less

18   than the Regular Line guarantee of 70 hours per month. However, if Clarkson had

19   received virtual credit for the actual hours he was scheduled to work during his

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 17
      Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.18 Page 18 of 35




 1   military leave in June 2017, his virtual credit hours and hours of actual work would

 2   have exceeded 70 hours in June 2017.

 3         44.    Clarkson took military leave for 7 days in July 2017. Under Horizon’s

 4   “virtual credit” policy, Horizon multiplied Clarkson’s 7 days of military leave by

 5   2.45 hours per day, which, in turn, credited Clarkson with 17.1 hours of virtual

 6   credit for July 2017. When combined with his actual hours worked in July 2017,

 7   Clarkson was left with fewer than 70 total hours in July 2017. However, if Clarkson

 8   had received virtual credit for the actual hours he was scheduled to work during his

 9   military leave in July 2017, he would have received more than 17.1 hours of virtual

10   credit and the aggregate of his virtual credit hours and hours of actual work hours

11   would have exceeded 70 hours in July 2017.

12         45.    Because Clarkson did not receive virtual credit for the flight hours that

13   he was reasonably certain to earn during the period of his military leave in July

14   2017, Clarkson did not reach the 70-hour threshold to remain a Regular Line holder,

15   and he was accordingly demoted to Reserve Line holder in the following month

16   because the “virtual credit” policy did not fully credit Clarkson with the number of

17   hours we would have worked during his period of military leave when determining

18   Clarkson’s Regular Line holder status.

19         46.    In August 2017, Clarkson worked more than 70 hours and returned to

20   his Regular Line holder status. However, Horizon’s “virtual credit” policy soon

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 18
      Case 2:19-cv-00005-TOR     ECF No. 1    filed 01/07/19   PageID.19 Page 19 of 35




 1   caused him to lose that status once again. From September 26 to September 30,

 2   2017, Clarkson went on military leave and was provided virtual credit of 12.25

 3   hours for those 5 days of military leave. Again, it was reasonably certain that

 4   Clarkson would have worked more than 12.25 hours during those five days, and

 5   due to receiving only 12.25 hours during that period of military leave Clarkson did

 6   not meet the 70-hour threshold to remain a Regular Line holder and he again was

 7   demoted from Regular Line holder to Reserve Line holder.

 8         47.    In October 2017, Clarkson took military leave again, and although he

 9   was able to meet the 70-hour threshold for October 2017, he was able to do so only

10   by working extra days when he was not on military leave in order to be a Regular

11   Line holder in the following month.

12         48.    Horizon’s act of demoting Clarkson from a Regular Line holder status

13   to a Reserve Line holder status adversely affected various benefits of employment

14   to which Clarkson was entitled, including Clarkson’s wages and work schedule in

15   the months following his periods of military leave. Horizon’s virtual credit policy

16   reduced the number of days that Clarkson was able to take off from work, and in

17   some cases, Clarkson was compelled to accept additional work so that he could

18   receive 70 hours of credit to avoid being demoted in the following month.

19         49.    Horizon pilots who take short-term military leave are subject to the

20   same virtual credit policy that has harmed Clarkson and have been harmed in similar

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 19
      Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.20 Page 20 of 35




 1   fashion by the same policy—resulting in either a demotion or being required to

 2   work additional hours to avoid a demotion.

 3   Plaintiff Clarkson and the U.S. Department of Labor Notified Horizon That
     its Virtual Credit Policy Violates USERRA
 4

 5         50.    On June 11, 2017, Clarkson emailed Horizon’s management regarding

 6   the company’s “virtual credit” policy, informing Horizon’s management that

 7   Horizon’s virtual credit policy was harming him and other Horizon pilots who took

 8   short-term military leave. In his e-mail, Clarkson pointed out that by only providing

 9   pilots with 2.45 hours of virtual credit per day of military leave, which is often

10   smaller than the number of flight hours pilots would work on work-days that are

11   dropped to take military leave, Horizon forces pilots into two options that both

12   violate USERRA: (1) either work additional time when they are not taking military

13   leave in order to reach the 70-hour per month threshold, or (2) be demoted to the

14   Reserve Line holder position.

15         51.    Horizon’s management refused to change its policy after Clarkson

16   raised this issue. As a result of Horizon’s refusal to change its policy, on August 3,

17   2017, Clarkson filed a complaint with the U.S. Department of Labor’s (“DOL”)

18   Veterans Employment and Training Services, alleging that Horizon’s “virtual

19   credit” policy violated USERRA.

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 20
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.21 Page 21 of 35




 1         52.    The DOL subsequently contacted Horizon as part of its investigation.

 2   In responding to the DOL’s inquiries, Horizon told DOL that while the company

 3   did not “track reservists,” as of August 18, 2017, “30 [of the company’s 698] pilots

 4   [were] on military leaves.”

 5         53.    The DOL completed its investigation of Clarkson’s complaint on

 6   October 4, 2017, and found that Horizon’s “virtual credit” policy violates

 7   USERRA. DOL concluded that to comply with USERRA, Horizon should provide

 8   virtual credit that is “not less than the value of trips dropped” in the months in which

 9   Clarkson took military leave.

10         54.    Despite DOL’s finding of a USERRA violation, Horizon refused to

11   follow the DOL’s findings or bring the company into compliance with USERRA

12   by changing its virtual credit policy.

13   Both Defendants Failed to Pay Plaintiff Clarkson During Periods of Short-
     Term Military Leave
14

15         55.    During each year of his employment with Horizon from 2013 to 2017,

16   Clarkson took one or more periods of short-term military leave from Horizon.

17         56.    During each of Clarkson’s short-term absences from his employment

18   with Horizon due to his military service obligations, Horizon applied to Clarkson its

19   uniform policy and practice of refusing to provide pay the regular wages or salary to

20   employees who take short-term military leave. Although other employees were

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 21
       Case 2:19-cv-00005-TOR      ECF No. 1   filed 01/07/19   PageID.22 Page 22 of 35




 1   eligible to receive their regular wages or salaries during jury duty leave, bereavement

 2   leave, or sick leave, consistent with Horizon’s policies, Clarkson did not receive his

 3   regular wages during his periods of short-term military leave.

 4         57.    During his employment with Alaska, which began on November 6,

 5   2017, Clarkson was required to take short-term military leave during several periods

 6   between November 2017 and June 2018, most recently, from May to June 2018.

 7   Pursuant to Alaska’s policy and practice of failing to pay employees when they take

 8   short-term military leave, while at the same time paying employees when they take

 9   other comparable forms of non-military leave like jury duty, bereavement leave,

10   and sick leave, Clarkson received no wages during his short-term military leave.

11   Defendants’ USERRA Violations Were Knowing and Willful

12         58.    Defendant Horizon was directly notified by Plaintiff, and direct notice

13   from the Department of Labor that its virtual credit policy violated USERRA.

14   Despite such notifications, Horizon refused to change its policy.

15         59.    The persons responsible for employment-related decisions at

16   Defendants during the time frame alleged in this complaint were familiar with the

17   requirements imposed upon employers under USERRA.

18         60.    Both Defendants either knew or showed reckless disregard for whether

19   their conduct was prohibited under the provisions of USERRA, and their conduct

20   was willful as defined by 38 U.S.C. § 4323(d), and 20 C.F.R. § 1002.312(c).

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 22
      Case 2:19-cv-00005-TOR       ECF No. 1    filed 01/07/19   PageID.23 Page 23 of 35




 1                                      COUNT I
                    Violation of USERRA, 38 U.S.C. §§ 4312 & 4313
 2                On Behalf of the Virtual Credit Class Against Horizon

 3         61.    Plaintiff repeats and re-alleges the foregoing as if fully set forth

 4   herein.

 5         62.    An employee who takes military leave to serve in the uniformed

 6   services is entitled to the reemployment rights and benefits and other employment

 7   benefits of USERRA if the person has given notice of his military obligation, served

 8   honorably, served less than five years cumulatively during military leave from that

 9   employer, and gave notice of his or her intent to return to work. 38 U.S.C. §

10   4312(a).

11         63.    On April 25, 2017, Clarkson provided Horizon notice of his military

12   obligation between June 8, 2017 and July 8, 2017.

13         64.    Clarkson’s period of military service was less than five years.

14         65.    Clarkson served honorably during the above timeframe.

15         66.    Clarkson provided Defendant Horizon notice of his intent to return to

16   work on June 27, 2017.

17         67.    Similarly, the members of the Virtual Credit Class are limited to

18   servicemember-employees who were reemployed by Horizon, as they provided

19   notice of their military obligations, had periods of service of less than five years,

20   served honorably during their military leave, and sought timely reemployment.

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 23
      Case 2:19-cv-00005-TOR      ECF No. 1   filed 01/07/19   PageID.24 Page 24 of 35




 1         68.    When Clarkson and the members of the Virtual Credit Class satisfied

 2   USERRA’s reemployment criteria, Horizon was required to re-employ Clarkson

 3   and the Class “in the position of employment in which the person would have been

 4   employed if the continuous employment of such person with the employer had not

 5   been interrupted by such service, the duties of which the person is qualified to

 6   perform” or “in the position of employment in which the person was employed on

 7   the date of the commencement of the service in the uniformed services.” 38 U.S.C.

 8   § 4313(a)(1).

 9         69.    By giving Clarkson and the members of the Virtual Credit Class fewer

10   virtual credit hours than they would have worked had they been continuously

11   employed by Horizon during their short-term military leave, using that lesser credit

12   figure to determine the position that Clarkson and the Virtual Credit Class Members

13   would be reemployed, and consequently reemploying Clarkson and the Virtual

14   Credit Class in an inferior Reserve Line holder position rather than the superior

15   Regular Line holder position, Horizon failed to re-employ Clarkson and the Virtual

16   Credit Class Members in the proper position following periods of military leave.

17

18

19

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 24
      Case 2:19-cv-00005-TOR         ECF No. 1    filed 01/07/19   PageID.25 Page 25 of 35




 1                                        COUNT II
               Violation of USERRA § 4316(a), 38 U.S.C. § 4316(a) on Behalf of
 2                    the Virtual Credit Class Plaintiffs Against Horizon

 3         70.      Plaintiff repeats and re-alleges the foregoing as if fully set forth

 4   herein.

 5         71.      Section 4316(a) of USERRA provides, in relevant part:

 6         A person who is reemployed under this chapter is entitled to the
           seniority and other rights and benefits determined by seniority that the
 7         person had on the date of the commencement of service in the
           uniformed services plus the additional seniority and rights and benefits
 8         that such person would have attained if the person had remained
           continuously employed.
 9
           72.      Under USERRA, 38 U.S.C. § 4303(2), “rights and benefits” include
10
     “the terms, conditions, or privileges of employment, including any advantage,
11
     profit, privilege, gain, status, account, or interest,” including “the opportunity to
12
     select work hours.”
13
           73.      Horizon violated USERRA § 4316(a) by failing to treat Plaintiff’s and
14
     the Virtual Credit Class’s military leaves of absence as continuous employment in
15
     computing the number of hours of credit they had for the purposes of determining
16
     the employee’s position following a period of military leave.
17
           74.      By failing to fully treat military service as continued employment,
18
     Horizon denied Plaintiff and the Virtual Credit Class Members the “rights and
19
     benefits” that they are entitled to upon reemployment, including the seniority or
20

21


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 25
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.26 Page 26 of 35




 1   position of Regular Line holder, the opportunity or privilege to select their positions

 2   or work schedules, and other privileges of employment.

 3                                    COUNT III
            Violations of USERRA § 4316(c), 38 U.S.C. § 4316(c) on Behalf of
 4                      the Virtual Credit Class Against Horizon

 5         75.    Plaintiff repeats and re-alleges the foregoing as if fully set forth

 6   herein.

 7         76.    USERRA § 4316(c) provides, in part:

 8         A person who is reemployed by an employer under this chapter shall
           not be discharged from such employment, except for cause—
 9
                  (1) within one year after the date of such reemployment, if the
10                person’s period of service before the reemployment was more
                  than 180 days; or
11
                  (2) within 180 days after the date of such reemployment, if the
12                person’s period of service before the reemployment was more
                  than 30 days but less than 181 days.
13
     38 U.S.C. § 4316(c).
14
           77.    Demotions and transfers to inferior positions during a protective period
15
     are considered discharges within the meaning of USERRA.
16
           78.    By applying its virtual credit policy to demote Plaintiff and members
17
     of the Virtual Credit Class, or transfer them to inferior positions following their
18
     military leave, without cause, within the protection period provided by USERRA,
19
     by the application of its “virtual credit” system, Horizon violated USERRA §
20
     4316(c).
21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 26
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.27 Page 27 of 35




 1                                    COUNT IV
                 Violations of USERRA § 4316(b), 38 U.S.C. § 4316(b)
 2           On Behalf of the Paid Leave Class Against Horizon and Alaska

 3         79.    Plaintiff hereby repeats and incorporates the allegations contained in

 4   the foregoing paragraphs as if fully set forth herein.

 5         80.    USERRA, 38 U.S.C. § 4316(b)(1), provides that “a person who is

 6   absent from a position of employment by reason of service in the uniformed services

 7   shall be (A) deemed to be on furlough or leave of absence while performing such

 8   service; and (B) entitled to such other rights and benefits not determined by

 9   seniority as are generally provided by the employer of the person to employees

10   having similar seniority, status, and pay who are on furlough or leave of absence

11   under a contract, agreement, policy, practice, or plan in effect at the commencement

12   of such service or established while such person performs such service.”

13         81.    The U.S. Department of Labor’s regulations that implement and

14   interpret USERRA § 4316(b)(1), provide that “[i]f the non-seniority benefits to

15   which employees on furlough or leave of absence are entitled vary according to the

16   type of leave, the employee must be given the most favorable treatment accorded

17   to any comparable form of leave when he or she performs service in the uniformed

18   services.” 20 C.F.R. § 1002.150(b). The “duration of leave” “may be the most

19   significant factor” to determine whether two forms of leave are comparable, and

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 27
       Case 2:19-cv-00005-TOR     ECF No. 1   filed 01/07/19   PageID.28 Page 28 of 35




 1   other relevant factors include “the purpose of the leave and the ability of the

 2   employee to choose when to take the leave.” Id.

 3         82.     As described above, Horizon and Alaska have maintained a policy or

 4   practice of failing to pay employees their regular wages or salaries when they take

 5   short-term military leave, while continuing to pay employees their wages or salaries

 6   when they take other comparable forms of non-military leave such as jury duty,

 7   bereavement leave, and sick leave.

 8         83.     As described above, these forms of leave—jury duty, bereavement

 9   leave, and sick leave—are comparable to short-term military leave in terms of the

10   duration, purpose, and/or the ability of the employee to determine whether to take

11   the leave.

12         84.     By adopting and applying a uniform policy or practice of not paying

13   the Paid Leave Class Members when they took short-term military leave, Horizon

14   and Alaska denied the Paid Leave Class Members the same rights and benefits,

15   including compensation, that they provided to employees who took comparable

16   forms of non-military leave, including jury duty leave, bereavement leave, and sick

17   leave, and Horizon and Alaska failed to provide the Paid Leave Class Members the

18   most favorable treatment accorded to employees who took comparable forms of

19   non-military leave. By doing so, they violated and continues to violate USERRA §

20   4316(b)(1).

21


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 28
      Case 2:19-cv-00005-TOR        ECF No. 1    filed 01/07/19   PageID.29 Page 29 of 35




 1         85.      Due to Horizon and Alaska’s failure to comply with USERRA §

 2   4316(b)(1), Plaintiff and other members of the Paid Leave Class received lower

 3   wages, salaries, and compensation than they would have received had Horizon and

 4   Alaska complied with USERRA and the Department of Labor’s implementing

 5   regulations.

 6         86.      Upon information and belief, this violation of USERRA § 4316(b)(1)

 7   was willful. Accordingly, Horizon and Alaska should be required to pay liquidated

 8   damages pursuant to 38 U.S.C. § 4323(d)(1)(C).

 9                                   COUNT V
                 Violations of ERISA § 104(b), 29 U.S.C. § 1024(b)
10      Brought by Plaintiff Clarkson Individually Against the Alaska Airlines
                     Pension/Benefit Administrative Committee
11

12         87.      Plaintiff incorporates and realleges the foregoing as if fully set forth

13   herein.

14         88.      The Employee Retirement Income Security Act of 1974 (“ERISA”)

15   requires the administrator of an employee benefit plan, “upon written request of any

16   participant or beneficiary, [to] furnish a copy of the latest updated summary plan

17   description, and the latest annual report, any terminal report, the bargaining

18   agreement, trust agreement, contract, or other instruments under which the plan is

19   established or operated.” 29 U.S.C. § 1024(b).

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 29
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.30 Page 30 of 35




 1         89.    ERISA § 502(c)(1), 29 U.S.C. § 1132(c)(1), authorizes daily monetary

 2   penalties of up to $110 per day in civil penalties against the administrator of an

 3   employee benefit plan that fails to furnish the requested material to “the requesting

 4   participant . . . within 30 days after such request.”

 5         90.    According to the Summary Plan Description, the Alaska Airlines

 6   Pension/Benefits Administrative Committee is the “Administrator” of the Alaska

 7   Airlines 401(k) Plan, pursuant to ERISA § 3(21)(A)(16), 29 U.S.C. §

 8   1002(21)(A)(16).

 9         91.    Clarkson submitted a letter pursuant to ERISA § 104(b) to the Alaska

10   Airlines 401(k) Plan Pension/Benefits Administrative Committee on October 22,

11   2018, by certified mail, which was delivered on October 25, 2018. The letter

12   requested that the Committee provide Clarkson “the latest updated summary plan

13   description; (2) any summaries of material modification to the Plan; (3) the latest

14   full annual report, including a statement of assets and liabilities of the Plan and

15   accompanying notes as well as a statement of income and expenses of the Plan, and

16   accompanying notes; and (4) any bargaining agreement, trust agreement, contract;

17   or (5) other instruments under which the Plan is established or operated, and any

18   applicable amendments.” At the time that he made his request pursuant to ERISA §

19   104(b), Plaintiff was a participant in the Plan and remains a participant in the Plan.

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 30
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.31 Page 31 of 35




 1         92.    The Alaska Pension Alaska Airlines 401(k) Plan Pension/Benefits

 2   Administrative Committee did not responded to Clarkson’s October 22, 2018 letter

 3   within 30 days, and, in fact has never responded, in violation of ERISA § 502(c)(1),

 4   29 U.S.C. § 1132(c)(1).

 5         93.    Pursuant to ERISA § 502(a)(1)(A) a participant may sue for the relief

 6   provided in ERISA § 502(c). As a participant in the Plan, Plaintiff Clarkson is

 7   entitled to sue the Plan Administrator for failure to respond to his ERISA § 104(b)

 8   request. As the Plan Administrator failed to respond to his request, Plaintiff

 9   Clarkson is entitled to penalties available under ERISA § 502(c).

10         94.    To the extent that a participant is required to show harm in order to

11   obtain penalties under ERISA § 502(a)(1)(A), Plaintiff Clarkson has been harmed

12   by not timely receiving the requested documents. Clarkson made the ERISA §

13   104(b) request in October 2018 in order to enable him to pursue a claim for benefits

14   under the Plan regarding Defendant Alaska’s failure to provide what appears to be

15   an incorrect amount of contributions to his 401(k) Plan account. As Alaska’s failure

16   to timely provide the requested documents has unnecessarily delayed his ability to

17   file a claim and required him to hire attorneys to address this issue, Plaintiff should

18   be awarded penalties under ERISA § 502(c).

19

20

21


                 CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 31
      Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.32 Page 32 of 35




 1                                PRAYER FOR RELIEF

 2         Wherefore, Plaintiff prays that judgment be entered against Defendants

 3   Horizon, Alaska, and the Alaska Airlines Pension/Benefits Administrative

 4   Committee and respectfully requests that this Court award the following relief:

 5         A.     Declare that Defendant Horizon’s virtual credit policy and Horizon’s

 6   application of the policy to employees who take military leave and are reemployed

 7   following such military leave violates the rights of Plaintiff and the Virtual Credit

 8   Class under USERRA § 4312, § 4313 and § 4316.

 9         B.     Declare that Defendant Horizon and Defendant Alaska’s policy and

10   practice by which both Defendants failed to pay the regular wages or salaries of

11   employees when they took short-term military leave, while paying employees when

12   they took comparable forms of non-military leave, violates the rights of Plaintiff and

13   the Paid Leave Class Members under USERRA § 4316.

14         C.     Declare Defendants’ USERRA violations of USERRA were willful

15   under 38 U.S.C. § 4323(d)(1)(C).

16         D.     Declare that Defendants Horizon and Alaska must pay employees who

17   take short-term military leave on the same basis as employees who take leave for

18   jury duty, bereavement leave, sick leave, and other forms of comparable non-

19   military leave.

20

21


                CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 32
       Case 2:19-cv-00005-TOR        ECF No. 1   filed 01/07/19    PageID.33 Page 33 of 35




 1         E.     Require Defendants Horizon and Alaska to recalculate the

 2   compensation and attendant employment benefits owed to Plaintiff and members of

 3   both Classes in accordance with the Court’s declaration, including (i) any wages or

 4   salaries that should have been paid during periods of short-term military leave, as

 5   well as any non-elective 401(k) contributions that should have been made as a

 6   percentage of employees’ wages or salaries; and (2) any compensation or benefits

 7   that were lost due to a demotion as a result of the virtual credit policy.

 8         F.     Order both Defendants to pay all members of the Classes liquidated

 9   damages in an amount to be determined at trial, 38 U.S.C. § 4323(d)(1)(C);

10         G.     Require Defendants Horizon and Alaska to pay attorneys’ fees, expert

11   witness fees, litigation expenses and costs pursuant to 38 U.S.C. § 4323(h) and/or

12   order the payment of reasonable fees and expenses in this action to Plaintiff’s

13   Counsel on the basis of the common benefit and/or common fund doctrine out of

14   any money or benefit recovered for the Class in this Action.

15         H.     Declare     that     Defendant     Alaska       Airlines   Pension/Benefits

16   Administrative Committee violated ERISA § 104(b), 29 U.S.C. § 1024(b), in failing

17   to respond to Plaintiff Clarkson’s request for plan documents, and order it to pay

18   statutory civil penalties to Plaintiff Clarkson in accordance with ERISA § 502(c), 29

19   U.S.C. § 1132(c).

20

21


                CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 33
       Case 2:19-cv-00005-TOR      ECF No. 1    filed 01/07/19   PageID.34 Page 34 of 35




 1         I.      Award pre-judgment and post-judgment interest on any monetary relief

 2   awarded or required by order of this Court.

 3         J.      Require Defendants Alaska and Horizon to pay attorneys’ fees, expert

 4   witness fees, litigation expenses costs pursuant to 38 U.S.C. § 4323(h), Defendant

 5   Alaska Airlines 401(k) Plan Pension/Benefits Administrative Committee (and its

 6   individual members) to pay attorney’s fees and the costs related to the ERISA §

 7   104(b) claim pursuant to ERISA §502(g)(1), 29 U.S.C. § 1132(g)(1) and/or ordering

 8   the payment of reasonable fees and expenses of this action to Plaintiffs’ Counsel on

 9   the basis of the common benefit and/or common fund doctrine (and/or other

10   applicable law) out of any money or benefit recovered for the Classes in this action.

11         K.      Award any other relief that the Court determines Plaintiffs and the Class

12   are entitled to pursuant to Rule 54(c) of the Federal Rules of Civil Procedure or

13   otherwise.

14                                JURY TRIAL DEMAND

15         Pursuant to Rule 38 of the Federal Rules of Civil Procedure or any similar

16   rule or law, Plaintiff demands a trial by jury for all causes of action and issues for

17   which trial by jury is available.

18   January 7, 2019                                Respectfully submitted,

19     / s / Matthew Z. Crotty                   / s / Thomas G. Jarrard
      MATTHEW Z. CROTTY                          THOMAS G. JARRARD
20    (WSBA #39284)                              (WSBA #39774)
      Crotty & Son Law Firm, PLLC                Law Office of Thomas
21


                  CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 34
     Case 2:19-cv-00005-TOR    ECF No. 1   filed 01/07/19   PageID.35 Page 35 of 35




 1   905 W. Riverside Ave, Suite 404         Jarrard, PLLC
     Spokane, WA 99201                       1020 N. Washington Dt.
 2   Telephone: (509) 850-7011               Spokane, WA 99201
     Email:     matt@crottyandson.com        Telephone: (425) 239-7290
 3                                           Facsimile: (509) 326-2932
                                             Email:     Tjarrard@att.net
 4
     PETER ROMER-FRIEDMAN                    R. JOSEPH BARTON
 5   (pro hac vice motion forthcoming)       (pro hac vice motion forthcoming)
     Outten & Golden LLP                     Block & Leviton LLP
 6   601 Massachusetts Avenue NW             1735 20th Street NW
     Second Floor West Suite                 Washington, DC 20009
 7   Washington, D.C. 20001                  Tel: (202) 734-7046
     Telephone:(202) 847-4400                Fax: (617) 507-6020
 8   Facsimile: (202) 847-4410               Email: jbarton@blockesq.com
     Email:     prf@outtengolden.com
 9
                                 Attorneys for Plaintiff
10

11

12

13

14

15

16

17

18

19

20

21


              CLASS ACTION COMPLAINT FOR VIOLATIONS OF USERRA - 35
